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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 16-281V
                                     Filed: November 3, 2016

* * * * * * * * * * * * * * * *                         UNPUBLISHED
TERESA BOLLINGER,                          *
                                           *            Special Master Hamilton-Fieldman
             Petitioner,                   *
                                           *            Joint Stipulation on Damages;
v.                                         *            Influenza Vaccine; Transverse
                                           *            Myelitis.
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
             Respondent.                   *
* * * * * * * * * * * * * * * *
Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.
Gordon E. Shemin, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION1

         On February 29, 2016, Teresa Bollinger (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34
(2012). Petitioner alleged that as a result of an influenza (“flu”) vaccine administered on
October 15, 2014, she developed transverse myelitis (“TM”). See Stipulation for Award at ¶ 2,
4, filed Nov. 2, 2016. Petitioner further alleged that she suffered residual effects of these injuries
for more than six months. Id. at ¶ 4.

       On November 3, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Respondent denies that the flu vaccine
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
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caused Petitioner’s TM, or any other injury. Nevertheless, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

               A lump sum of $240,000.00, in the form of a check payable to Petitioner. This
               amount represents compensation for all damages that would be available under
               42 U.S.C. § 300aa-15(a).

Id. at ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
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